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 7                     IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,              )
                                            )     2:08-cr-0190-GEB
11                  Plaintiff,              )
                                            )     ORDER
12             v.                           )
                                            )
13   MARGARITO ALBERTE,                     )
                                            )
14                  Defendant.              )
                                            )
15
16             Court-appointed defense counsel Michael Chastaine
17   (“Counsel”) has submitted a letter dated March 1, 2009, in which he
18   seeks reconsideration of the portion of a non-docketed Order I issued
19   February 26, 2009; the Order denied Counsel’s request for attorney’s
20   fees for time he spent working on Alberte’s state case.          The pertinent
21   part of the Order follows:
22             Counsel indicates in his cover letter submitted
               with the voucher that the voucher includes billing
23             for what Counsel did “in an unrelated state
               criminal action out of Yolo County.” Some of the
24             billing for this unrelated state criminal action
               has not been shown appropriate under the CJA.
25
               The CJA at 18 U.S.C. § 3006A(d)(l) provides that an
26             appointed attorney shall be compensated for time
               expended in court and for time “reasonably expended out
27             of court” and shall be reimbursed “for expenses
               reasonably incurred.” Counsel has not shown he was
28             authorized to perform the following services for which


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 1             he seeks fees: 4/22/08 Arraignment-Yolo County 3.0;
               5/20/08 Court appearance Yolo Ct 2.5.
 2
               Further, Counsel has not shown that the entry
 3             dated 4/11/08 for 4.8 hours (Arraignment, review
               complaint initial meeting w/client, review
 4             discovery) concerns this federal action since at
               the time of this review Defendant was indicted in
 5             the federal action. Nor, has Counsel provided
               justification for the following services he
 6             provided to Defendant’s family (the serv[ices]
               have not been shown necessary in representing
 7             defendant, and it appears the services may have
               been provided to Defendant in connection with the
 8             “unrelated state criminal action”[)]: 4/15/08 T/C
               from family .2; 7/7/08 T/C to family, T/C to Yolo
 9             DA .4; 7/11/08 meeting with family 1.0; 8/15/08
               review suppression mtn filed by co Ä in Yolo case
10             .4; and, 8/18/08 T/C to Yolo DA, T/C to family .3.
11             Counsel explains in his March 1 reconsideration letter that
12   a magistrate judge authorized his services on behalf of Alberte in the
13   state proceedings under the CJA.      Counsel attached the authorization
14   he received from a magistrate judge to his reconsideration letter;
15   that authorization is attached to this Order.        Counsel further states
16   in his March 1 reconsideration letter:
17             My ability to work on Mr. Alberte’s state case was
               necessary and essential to my ability to resolve
18             the federal court action. Mr. Albert[e] was in a
               difficult position in that the State court refused
19             to appoint counsel because Mr. Albert[e] was not
               present before that Court. Mr. Albert[e] was
20             unable to be present because the Marshals would
               not transport him to Yolo County. The only way to
21             obtain discovery and engage the District Attorney
               in some level of negatiations (sic) was to be
22             appointed to assist. While ultimately we were
               unable to resolve the case in Yolo County, the
23             fact that counsel was appointed, reviewed the
               discovery and had engaged the Yolo County District
24             Attorney in settlement talks put Mr. Alberte in a
               state of mind where he was willing to resolve the
25             Federal case.
26             I disagree with the magistrate judge’s decision authorizing
27   Counsel to represent Alberte in the un-related state action, and find
28   Counsel was wrong when he told the magistrate judge in the attached


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 1   authorization letter that the state action was “ancillary” to the
 2   federal action.   It is clear that the state action was not “ancillary”
 3   to the federal action.
 4             Congress did not intend for federal CJA resources to be used
 5   for the type of representation Counsel provided Alberte in the Yolo
 6   County state action.    Alberte was not entitled to “the assistance of a
 7   federally-appointed lawyer” in that state action since he was not
 8   “pursuing ‘ancillary matters’ as those terms are used in [18 U.S.C. §]
 9   3006A.”   In re Lindsey, 875 F.2d 1502, 1507-08 (11th Cir. 1989) (“We
10   conclude . . . this section [does not] entitle[] Lindsey to the
11   assistance of a federally-appointed lawyer . . . in state court
12   [since] Lindsey [was not] pursuing ‘ancillary matters’ as those terms
13   are used in section 3006A.”); cf. House v. Bell, 332 F.3d 997, 998-99
14   (6th Cir. 2003) (“We agree with our sister circuits that Section
15   848(q)(4)(B) must be construed narrowly and agree with their
16   conclusion that the statute does not authorize federal compensation
17   for representation in state proceedings.”).
18             “In determining whether a matter is ancillary to the
19   proceedings, the court should consider whether the matter, or the
20   issues of law or fact in the matter, arose from, or are the same as or
21   closely related to, the facts and circumstances surrounding the
22   principal [federal] criminal charge.”       Guidelines for the
23   Administration of the Criminal Justice Act and Related Statutes, §
24   2.01 F(5).   The principal federal criminal charges for which Alberte
25   was indicted are conspiracy to distribute cocaine and possession of
26   cocaine with the intent to distribute it.       Counsel’s authorization
27   letter, however, reveals Alberte was charged in the state action with
28   possession of a loaded stolen firearm, a gang enhancement, and driving


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 1   under the influence of an intoxicant.          These state charges “are not
 2   the same as or closely related to, the facts and circumstances
 3   surrounding” the federal drug charges against Alberte; and therefore
 4   are not ancillary to his “principal federal criminal charge[s].”
 5                Counsel indicates he had to be authorized under the CJA to
 6   represent Alberte in the state action since “Albert[e] was unable to
 7   be present [before the state court] because the Marshals would not
 8   transport him to Yolo County.”        Irrespective of whether or not the
 9   United States Marshal refused to transport Alberte to state court,
10   Counsel has not shown his non-ancillary service on Alberte’s behalf in
11   the state action is compensatory under the CJA.           Nor does Counsel’s
12   explanation that his work on Alberte’s state action “put [] Alberte in
13   a state of mind where he was willing to resolve the Federal action,”
14   justify counsel being compensated under the CJA.            Notwithstanding any
15   psychological benefit Alberte received from that representation, since
16   Counsel ultimately represented Alberte on non-compensatible “state law
17   issues and [in purely state] proceedings,” Counsel’s reconsideration
18   request is denied. Hill v. Lockhart, 992 F.2d 801, 803-04 (8th Cir.
19   1993).
20   Dated:    March 17, 2009
21
22                                       GARLAND E. BURRELL, JR.
23                                       United States District Judge

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